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                         U N I T E D S T AT E S D I S T R I C T C O U R T
                        C E N T R AL D I S T R I C T O F C AL I F O R N I A




      Or la n do Ga r cia ,                             CV 20-9886 DSF (GJ Sx)
              P la in t iff,
                                                        Or der DE NYIN G P la in t iff
                               v.                       Or la n do Ga r cia ’s Mot ion t o Ret a x
                                                        Cost s (Dkt . 54.)
      Don n a H a r n sber ger ; Asla n
      Ca t er in g, In c., a n d Does 1-10,
               Defen da n t s.



             P la in t iff Or la n do Ga r cia m oves t o r et a x cost s pu r su a n t t o Cen t r a l
     Dist r ict Loca l Ru le 54–2.5. Dkt . 54. Defen da n t s Asla n Ca t er in g, In c.,
     (t h e Rest a u r a n t ) a n d t h e pr oper t y own er Don n a H a r n sber ger t im ely
     opposed. Dkt . 55. Th e Cou r t deem s t h is m a t t er a ppr opr ia t e for
     decision wit h ou t or a l a r gu m en t . See F ed. R. Civ. P . 78; Loca l Ru le 7-
     15. Th e Mot ion t o Ret a x Cost s is DE NIE D.

             On Oct ober 28, 2020, P la in t iff filed a Com pla in t a llegin g
     Defen da n t s viola t ed t h e Am er ica n s wit h Disa bilit ies Act (ADA) a n d t h e
     Un r u h Civil Righ t s Act . Dkt . 1. On J a n u a r y 19, 2021, h e filed t h e
     oper a t ive F ir st Am en ded Com pla in t , a n d t h e pa r t ies su bsequ en t ly
     cr oss-m oved for su m m a r y ju dgm en t . Dkt s. 17, 34, 35. Th e Cou r t
     den ied P la in t iff’s m ot ion , gr a n t ed Defen da n t s’, a n d issu ed a n opin ion
     a n d ju dgm en t dism issin g t h e a ct ion wit h pr eju dice a n d dir ect in g
     Defen da n t s t o r ecover cost s of su it in a ccor da n ce wit h 28 U.S.C. § 1920.
     Dkt s. 47–48.

             Th er ea ft er , Defen da n t s su bm it t ed a n Applica t ion t o Ta x Cost s
     seekin g on ly $693 in deposit ion cost s, a n d P la in t iff filed a n Object ion
     pu r su a n t t o Loca l Ru le 54–2.2. Dkt s. 51–52. On Ma r ch 21, 2022, t h e
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     Cler k t a xed cost s a ga in st P la in t iff a n d in fa vor of Defen da n t s a n d
     a wa r ded t h e fu ll $693 in cost s. Dkt . 53. On e-week la t er P la in t iff filed
     t h e in st a n t Mot ion t o Ret a x Cost s pu r su a n t t o Loca l Ru le 54–2.5, a n d
     Defen da n t s opposed. Dkt s. 54–55.

              P la in t iff ch a llen ges on ly t h e lega lit y of t h e a wa r d. H e a r gu es t h e
     n or m a l cost pr ovision s u n der Ru le 54(d)(1) t h a t wou ld h a ve a u t h or ized
     t h e ch a llen ged a wa r d h a ve been displa ced by t h e ADA’s st a t u t or y cost
     pr ovision . 42 U.S.C. § 12205. Th e Nin t h Cir cu it a pplied t h e sa m e
     st a n da r d u sed in §12205 for a t t or n eys’ fees a n d con clu ded t h a t u n der
     t h e ADA cost s ca n be “a wa r ded t o a pr eva ilin g defen da n t on ly if ‘t h e
     pla in t iff’s a ct ion wa s fr ivolou s, u n r ea son a ble, or wit h ou t fou n da t ion .’”
     Br own v. Lu cky St or es, In c., 246 F .3d 1182, 1190 (9t h Cir . 2001)
     (qu ot in g Su m m er s v. A. Teich er t & Son , In c., 127 F .3d 1150, 1154 (9t h
     Cir .1997) (qu ot in g Ch r ist ia n sbu r g Ga r m en t Co. v. E E OC, 434 U.S. 412,
     421 (1978))). P la in t iff sa ys t h a t cost s ca n n ot be a wa r ded t o Defen da n t s
     a bsen t a fin din g t h a t h is ADA cla im s wer e fr ivolou s, u n r ea son a ble, or
     wit h ou t fou n da t ion . Bu t t h e Cou r t h a s n o t r ou ble con clu din g t h a t
     P la in t iff’s cla im s wer e in fa ct “fr ivolou s, u n r ea son a ble, or wit h ou t
     fou n da t ion .” As t h e Cou r t expla in ed wh en it gr a n t ed su m m a r y
     ju dgm en t for Defen da n t s, t h e u n dispu t ed eviden ce wa s t h a t P la in t iff
     did n ot en cou n t er a n a ccessibilit y-r ela t ed ba r r ier , n ever m a de a n
     a t t em pt t o din e a t t h e Rest a u r a n t , a n d h a d h e don e so h e wou ld n ot
     h a ve en cou n t er ed a n y su ch ba r r ier s. Or der Gr a n t in g Defen da n t s’
     Mot ion for Su m m a r y J u dgm en t a t 3–4, dkt . 47. P la in t iff a n d h is
     cou n sel sh ou ld h a ve kn own h is ADA cla im wa s fr ivolou s, u n r ea son a ble,
     a n d la ck ed fou n da t ion befor e t h is a ct ion wa s filed. See Am ph a st a r
     P h a r m s. In c. v. Aven t is P h a r m a SA, No. E DCV-09-0023 MJ G, 2017 WL
     10543563, a t *8 (C.D. Ca l. Nov. 20, 2017) (fin din g t h e pla in t iff’s cla im
     t o h a ve been fr ivolou s in pa r t beca u se t h e pla in t iff “h a d n o r ea son a ble
     fou n da t ion on wh ich t o br in g t h e su it .”); H u gh es v. Rowe, 449 U.S. 5, 15
     (1980) (con clu din g “fr ivolou s, u n r ea son a ble, or gr ou n dless” st a n da r d is
     m et if t h e pla in t iff “con t in u ed t o lit iga t e a ft er ” h is cla im “clea r ly
     beca m e” gr ou n dless or wit h ou t fou n da t ion ).

             In t h e a lt er n a t ive, t h e Cou r t a lso a gr ees wit h Defen da n t s t h a t
     t h ey a r e en t it led t o cost s u n der Ru le 54(d)(1) beca u se t h e Nin t h


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     Cir cu it ’s decision in Br own h a s been effect ively over r u led by t h e
     Su pr em e Cou r t ’s decision in Ma r x v. Gen er a l Reven u e Cor p., 568 U .S.
     371 (2013) (“Ru le 54(d)(1) codifies a ven er a ble pr esu m ption t h a t
     pr eva ilin g pa r t ies a r e en t it led t o cost s.”) (em ph a sis a dded). Mu lt iple
     ju dges h a ve con clu ded t h a t Br own ’s st a n da r d for wh en Ru le 54(d)’s
     cost s pr ovision s h a ve been displa ced by st a t u t e is ir r econ cila ble wit h
     Ma r x. T.P . v. Wa lt Disn ey P a r ks & Resor t s U.S. In c., N o. CV 15-05346-
     CJ C(E X), 2022 WL 1054935, a t *1 (C.D. Ca l. Ma r . 3, 2022); Ga r cia v.
     Ga t ewa y H ot el L.P ., No. CV 20-10752-P A (GJ Sx), 2021 WL 4776352, a t
     *2 (C.D. Ca l. Au g. 4, 2021); Sch er er v. Socor r os Rest ., In c., No. 2:20-CV-
     11357-VAP (P VCx), dkt 47 (C.D. Ca l. Ma r ch 4, 2022); M.T. v. Den ver
     P u bl. Sch . Dist ., 2018 WL 5298385, a t *2 (D. Col. Oct . 24, 2018);
     Webst er v. Bd. of Su per visor s, No. CV 13-6613, 2016 WL 4467750, a t *2
     (E .D. La . Au g. 24, 2016); J a cobson v. Cit y of West P a lm Bea ch , No. CV
     16-81638, 2017 WL 6366791, a t *2 (S.D. F la . Au g. 1, 2017). In deed, it
     a ppea r s t h a t ever y cou r t t o a ddr ess t h e issu e so fa r h a s con clu ded t h a t
     Br own ca n n ot be r econ ciled wit h Ma r x. See Miller v. Ga m m ie, 335
     F .3d 889, 900 (9t h Cir . 2003) (“[W]h er e in t er ven in g Su pr em e Cou r t
     a u t h or it y is clea r ly ir r econ cila ble wit h [t h e Nin t h Cir cu it ’s] pr ior cir cu it
     a u t h or it y . . . a t h r ee ju dge pa n el of [t h e Nin t h Cir cu it ] a n d dist r ict
     cou r t s sh ou ld con sider t h em selves bou n d by t h e in t er ven in g h igh er
     a u t h or it y a n d r eject t h e pr ior opin ion of [t h e Nin t h Cir cu it ] a s h a vin g
     been effect ively over r u led.”); bu t see Gr een v. Mer cy H ou sin g, In c., 991
     F .3d 1056 (9t h Cir . 2021) (ext en din g Br own t o cost s u n der t h e F H A
     wh er e n o pa r t y r a ised Ma r x).

               Th ese opin ion s a m ply expla in t h e con flict s bet ween Ma r x a n d
     Br own , a n d t h e Cou r t join s t h eir discu ssion t o iden t ify t wo specific
     in t er pr et a t ive con flict s. F ir st , Br own con clu ded t h a t Ru le 54(d) wa s
     displa ced wh en ever “t h e feder a l st a t u t e for m in g t h e ba sis for t h e a ct ion
     h a s a n expr ess pr ovision gover n in g cost s.” 246 F .3d 1182, 1190.
     Secon d, Br own in t er pr et ed t h e ADA’s r efer en ce t o cost s a s “pa r a llel”
     (a n d sim ila r ly lim it ed) t o it s a ffir m a t ive st a t u t or y a u t h or iza t ion for
     a t t or n eys’ fees in specific cir cu m st a n ces. Id. Th e Cou r t is com for t a ble
     con clu din g t h a t bot h h a ve been over r u led beca u se t h e Nin t h Cir cu it
     ext en ded Br own t o cla im s u n der t h e F a ir Debt Collect ion P r a ct ices Act



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